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                                                                     OFFICIAL LOCAL FORM 3


                                                        UNITED STATES BANKRUPTCY COURT
                                                           DISTRICT OF MASSACHUSETTS

                                          FOURTH AMENDED CHAPTER 13 PLAN COVER SHEET

 Filing Date:                 3/09/17                                           Docket #:    17-10812
 Debtor:                     Donna L Williams                                   Co-Debtor:
 SS#:                        xxx-xx-2750                                        SS#:
                             111 Garfield Ave.
 Address:                    Hyde Park, MA 02136                                Address:

 Debtor's Counsel: William P. Brearley, Esq.
                             30 Eastbrook Rd. Ste. 201
 Address:                    Dedham, MA 02026
 Telephone #:                (617)224-6122
 Facsimile #:                (781)326-8222


ATTACHED TO THIS COVER SHEET IS THE CHAPTER 13 PLAN FILED BY THE DEBTOR(S) IN THIS CASE. THIS
PLAN SETS OUT THE PROPOSED TREATMENT OF THE CLAIMS OF CREDITORS. THE CLAIMS ARE SET
FORTH IN THE BANKRUPTCY SCHEDULES FILED BY DEBTOR(S) WITH THE BANKRUPTCY COURT.


YOU WILL RECEIVE A SEPARATE NOTICE FROM THE BANKRUPTCY COURT OF THE SCHEDULED CREDITORS'
MEETING PURSUANT TO 11 U.S.C. § 341. THAT NOTICE WILL ALSO ESTABLISH THE BAR DATE FOR FILING
PROOFS OF CLAIMS.


PURSUANT TO THE MASSACHUSETTS LOCAL BANKRUPTCY RULES, YOU HAVE UNTIL THIRTY (30) DAYS
AFTER THE § 341 MEETING OR THIRTY (30) DAYS AFTER THE SERVICE OF AN AMENDED OR MODIFIED PLAN
TO FILE AN OBJECTION TO CONFIRMATION OF THE CHAPTER 13 PLAN, WHICH OBJECTION MUST BE
SERVED ON THE DEBTOR, DEBTOR'S COUNSEL AND THE CHAPTER 13 TRUSTEE.




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                                                                     OFFICIAL LOCAL FORM 3

                                                         UNITED STATES BANKRUPTCY COURT
                                                            DISTRICT OF MASSACHUSETTS

                                                    PRE-CONFIRMATION CHAPTER 13 PLAN

                                                          FOURTH AMENDED CHAPTER 13 PLAN


       Docket No.: 17-10812

 DEBTOR(S):                (H)      Donna L Williams                                                       SS#   xxx-xx-2750

                           (W)                                                                             SS#



I. PLAN PAYMENT AND TERM:

      Debtor's shall pay monthly to the Trustee the sum of $ 1,275.00                   for the term of:

          36 Months. 11 U.S.C. § 1325(b)(4)(A)(i);

          60 Months. 11 U.S.C. § 1325(b)(4)(A)(ii);

          60 Months. 11 U.S.C. § 1322(d)(2). Debtor avers the following cause:

       The Debtor requests additional time to cure mortgage arrears                                                                            ;or

                  Months. The Debtor states as reasons therefore:




II. SECURED CLAIMS

A. Claims to be paid through the plan (including arrears):

 Creditor                                             Description of Claim (pre-petition arrears,                          Amount of Claim
                                                      purchase money, etc.)
 Bank of America                                      Pre-petition arrears                                 $                       20,866.90
 SETERUS                                              Pre-petition arrears                                 $                       46,774.00

         Total of secured claims to be paid through the Plan $                                      67,640.90
B. Claims to be paid directly by debtor to creditors (Not through Plan):
Creditor                                                                                 Description of Claim
 Bank of America                                                        Agreement
 Nationstar Mortgage                                                    Agreement- Debtor has been approved for a loan
                                                                        modification. Creditor has filed a copy of the
                                                                        modification agreement with this Court. Debtor
                                                                        intends to continue with this new agreement
                                                                        outside of the plan.
 SETERUS                                                                Agreement




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C. Modification of Secured Claims:

 Creditor                                                    Details of Modification                        Amt. of Claim to Be Paid
                                                             (Additional Details                                       Through Plan
                                                             May Be Attached)
                                                             This lien impairs Debtor's declared
                                                             Homestead exemption. (See 522(f)) Upon
                                                             confirmation and completion of this Plan,
                                                             Creditor, its successors and assigns agree
                                                             to return the original Execution on money
                                                             judgment to the originating court marked
 Discover Bank                                               "Satisfied" within 30 days.                                       0.00

D. Leases:

            i.    The Debtor(s) intend(s) to reject the residential/personal property lease claims of
                      -NONE-
                  ; or

            ii. The Debtor(s) intend(s) to assume the residential/personal property lease claims of
                      -NONE-
                  .

            iii. The arrears under the lease to be paid under the plan are             0.00 .

III. PRIORITY CLAIMS

A. Domestic Support Obligations:

 Creditor                                             Description of Claim                                         Amount of Claim
 -NONE-                                                                                                 $

B. Other:

 Creditor                                             Description of Claim                                         Amount of Claim
 -NONE-                                                                                                 $

 Total of Priority Claims to Be Paid Through the Plan $                    0.00


IV. ADMINISTRATIVE CLAIMS

A. Attorneys fees (to be paid through the plan):                                                                          $   0.00

B. Miscellaneous fees:

 Creditor                                             Description of Claim                                         Amount of Claim
 -NONE-                                                                                                 $

C. The Chapter 13 Trustee's fee is determined by Order of the United States Attorney General. The calculation of the Plan payment
   set forth utilizes a 10% Trustee's commission.


V. UNSECURED CLAIMS

The general unsecured creditors shall receive a dividend of                   14   % of their claims.

 A. General unsecured claims:                                                                                  $   0.00




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B. Undersecured claims arising after lien avoidance/cramdown:


 Creditor                                             Description of Claim                                       Amount of Claim
 Discover Bank                                        Judgment Lien                                  $                      8,751.00

C. Non-Dischargeable Unsecured Claims:

 Creditor                                             Description of claim                                       Amount of Claim
 -NONE-                                                                                              $

 Total of Unsecured Claims (A + B + C):                                                               $                     8,751.00

D. Multiply total by percentage: $       1,209.10
    (Example: Total of $38,500.00 x .22 dividend = $8,470.00)

E. Separately classified unsecured claims (co-borrower, etc.):

             Creditor                                          Description of claim                               Amount of claim
             -NONE-                                                                              $

             Total amount of separately classified claims payable at                  %           $                             0.00


VI. OTHER PROVISIONS


            A. Liquidation of assets to be used to fund plan:


            B. Miscellaneous provisions:

                        - Debtor intends to "surrender" any interest she has in property located at 7700 Westgate Blvd. Kisssemmee, FL
                        34747 (Time Share Agreement will be null and void through this plan. Debtor intends to discontinue payments
                        under this agreement and make the property "available" to Creditor in satisfaction of this claim)

                        - Debtor intends to "surrender" any interest she has in property located at Bella Florida Condo Association, Atlanta
                        GA 30348. (Time Share Agreement will be null and void through this plan. Debtor intends to discontinue
                        payments under this agreement and make the property "available" to Creditor in satisfaction of this claim)


VII. CALCULATION OF PLAN PAYMENT

 A) Secured claims (Section I-A Total):                                                    $                    67,640.90
 B) Priority claims (Section II-A&B Total):                                                $                         0.00
 C) Administrative claims (Section III-A&B Total):                                         $                         0.00
 D) Regular unsecured claims (Section IV-D Total):+                                        $                     1,209.10
 E) Separately classified unsecured claims:                                                $                         0.00
 F) Total of a + b + c + d + e above:                                                    =$                     68,850.00
 G) Divide (f) by .90 for total including Trustee's fee:
                                                       Cost of Plan=                       $                    76,500.00

                    (This represents the total amount to be paid into the Chapter 13 plan)
 H. Divide (G), Cost of Plan, by Term of Plan,                                           60 months
 I. Round up to nearest dollar for Monthly Plan                                            $                     1,275.00
 Payment:
 (Enter this amount on page 1)

Pursuant to 11 U.S.C. § 1326(a) (1), unless the Court orders otherwise, a debtor shall commence making the payments proposed by a
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plan within thirty (30) days after the petition is filed. Pursuant to 11 U.S.C. §1326(a)(1)(C), the debtor shall make preconfirmation
adequate protection payments directly to the secured creditor.


VIII. LIQUIDATION ANALYSIS

A. Real Estate:

 Address                                                                           Fair Market Value         Total Amount of Recorded Liens
                                                                                                                               (Schedule D)
 111 Garfield Ave. Hyde Park, MA 02136
 Suffolk County                                                         $                444,000.00      $                      294,409.40
 8845 Southampton Dr. Mirimar, FL 33025
 Broward County                                                         $                191,590.00      $                      271,106.57
 7700 Westgate Blvd. Kissimmee, FL 34747
 Osceola County                                                         $                         0.00   $                             0.00
 Bella Florida Condo Assoc. Atlanta, GA
 30348 Fulton County                                                    $                         0.00   $                             0.00
 760 Long Distance Ln. Fort Myers, FL 33901
 Lee County                                                             $                         0.00   $                             0.00

 Total Net Equity for Real Property:                       $                149,590.60
 Less Exemptions (Schedule C):                             $                149,590.60
 Available Chapter 7:                                      $                      0.00

B. Automobile (Describe year, make and model):

 2007 Jeep Commando 158000 miles                          Value $               2,610.00 Lien $                 0.00 Exemption $              2,610.00
 2007 Toyota Tacoma 68000 miles                           Value $               3,421.00 Lien $                 0.00 Exemption $              3,421.00

 Total Net Equity:                                         $ 6,031.00
 Less Exemptions (Schedule C):                             $ 6,031.00
 Available Chapter 7:                                      $ 0.00

C. All other Assets (All remaining items on Schedule B): (Itemize as necessary)
 Misc. Household Furnishings
 Laptop Computer
 Wedding Band
 Checking (xxxxxx 2750): Bank of America Checking

 Total Net Value:                                          $ 1,052.00
 Less Exemptions (Schedule C):                             $ 1,052.00
 Available Chapter 7:                                      $ 0.00

D. Summary of Liquidation Analysis (total amount available under Chapter 7):

 Net Equity (A and B) plus Other Assets (C) less all claimed exemptions: $                                            0.00

E. Additional Comments regarding Liquidation Analysis:




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IX. SIGNATURES

Pursuant to the Chapter 13 rules, the debtor or his or her attorney is required to serve a copy of the Plan upon the Chapter 13 Trustee,
all creditors and interested parties, and to file a Certificate of Service accordingly.

 /s/ William P. Brearley, Esq.                                                         September 7, 2017
 William P. Brearley, Esq.                                                                 Date
 Debtor's Attorney
 Attorney's Address: 30 Eastbrook Rd. Ste. 201
                              Dedham, MA 02026
                              Tel. #:        (617)224-6122 Fax:(781)326-8222
                              Email Address: williambrearley1@verizon.net

I/WE DECLARE UNDER THE PENALTIES OF PERJURY THAT THE FOREGOING REPRESENTATIONS OF FACT
ARE TRUE AND CORRECT TO THE BEST OF OUR KNOWLEDGE AND BELIEF.


 Date September 7, 2017                                               Signature   /s/ Donna L Williams
                                                                                  Donna L Williams
                                                                                  Debtor




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